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10

11                            UNITED STATES DISTRICT COURT

12                                   DISTRICT OF NEVADA

13   CRAIG OTIS GIBSON,                                 Case No. 3:18-cv-00190-MMD-WGC
14                      Plaintiff,                      ORDER GRANTING
15   v.                                                 DEFENDANTS’ MOTION FOR
                                                        EXTENSION OF TIME
16   JAMES DZURENDA, et al.                             TO FILE THE NOTICE OF
                 Defendants.                            ACCEPTANCE OF SERVICE
17
                                                        (FIRST REQUEST)
18

19          Defendants, James Dzurenda, Miguel Flores-Nava, Paul Hunt, and Brian Williams,
20   by and through counsel, Aaron D. Ford, Attorney General of the State of Nevada, and Andrea
21   M. Dominguez, Deputy Attorney General, hereby move for an extension of time to file the
22   notice of acceptance of service. This motion is based on the following Memorandum of Points
23   and Authorities and on all papers and pleadings on file.
24   ///
25   ///
26   ///
27   ///
28   ///


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1                       MEMORANDUM OF POINTS AND AUTHORITIES
2    I.     FACTUAL ANALYSIS
3           This is an inmate civil rights action brought pursuant to 42 U.S.C. § 1983. Craig

4    Otis Gibson (Gibson) is an inmate in the custody of the Nevada Department of Corrections

5    (NDOC), currently housed at Ely State Prison, (ESP). Gibson alleges violations of the First,

6    Fourth, and Eighth Amendment of the United States Constitution. (ECF No. 111)

7           On October 20, 2020 Gibson filed a Second Amended Complaint. (ECF No. 112.) On

8    October 20, 2020 the Court entered an Order screening the second amended complaint, and

9    allowing Gibson to proceed on fourteen claims, naming forty two (42) total defendants.

10   (ECF No. 111.)

11           As counsel for Defendants was only recently assigned this case, Defendants
12   respectfully request an extension of time of thirty days to file the notice of acceptance of
13   service. Counsel requires additional time to familiarize herself with the claims and case.
14   Further, Plaintiff’s Second Amended complaint names thirty one (31) new defendants. The
15   undersigned needs additional time to make a good faith effort to identify the new defendants.
16   II.    LEGAL STANDARD
17          Rule 6(b)(1), Federal Rules of Civil Procedure, governs extensions of time and states:
18                  When an act may or must be done within a specified time, the
                    court may, for good cause, extend the time: (A) with or without
19                  motion or notice if the court acts, or if a request is made, before
                    the original time or its extension expires; or (B) on motion made
20                  after the time has expired if the party failed to act because of
                    excusable neglect.
21

22          Good cause exists to extend the time to file the notice of acceptance of service.
23   Defendants’ request will not hinder or prejudice Plaintiff’s case but will allow for a thorough
24   opportunity to try and identify the thirty one (31) additional defendants. The requested
25   extension of time should permit Defendants time to adequately research the named
26   individuals.
27   ///
28   ///



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1    III.    CONCLUSION
2            Based on the foregoing, Defendants respectfully request that their motion for an
3    extension of time for a period of thirty days, to December 3, 2020, in which to file the
4    notice of acceptance of service be granted.
5            DATED this 4th day of November, 2020.
6                                            AARON D. FORD
                                             Attorney General
7
                                             By: /s/ Andrea M. Dominguez
8                                               ANDREA M. DOMINGUEZ, Bar No. 15209
                                                Deputy Attorney General
9
                                                   Attorneys for Defendants
10

11
                                        ORDER
12

13    IT IS SO ORDERED.

14    DATED: November 5, 2020.

15                                            _____________________________________
                                              UNITED STATES MAGISTRATE JUDGE
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